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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

CONVERSE INC.,
                                                          Case No. 21-cv-05701
                  Plaintiff,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                  Defendants.


                                             COMPLAINT

          Converse Inc. (“Plaintiff” or “Converse”) brings the present trademark infringement and

counterfeiting action against the Partnerships and Unincorporated Associations identified on

attached Schedule A (collectively, “Defendants”) and alleges as follows:

                                         I. INTRODUCTION

          1.      This action has been filed by Converse to combat e-commerce sellers who trade

upon Converse’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products, including footwear, athletic wear, and hats, using counterfeit and infringing

versions of Converse’s federally registered trademarks (the “Counterfeit Converse Products”).

Using one or more of the seller aliases identified in attached Schedule A (the “Seller Aliases”),

Defendants create e-commerce stores1 which are advertising, offering for sale, and selling

infringing and Counterfeit Converse Products. Many of the e-commerce stores operating under

the Seller Aliases share unique identifiers, indicating that their counterfeiting operations arise out




1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
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of the same transaction, occurrence, or series of transactions or occurrences and establishing a

logical relationship between them. However, Defendants attempt to avoid and mitigate liability

by operating under one or more Seller Aliases to conceal both their identities and the full scope of

their operations.   E-commerce platforms used by Defendants – including Amazon, eBay,

AliExpress, Alibaba, Wish.com, and DHgate – fail to adequately subject new sellers to verification

and confirmation of their identities, allowing counterfeiters to use false or inaccurate names and

addresses when registering their e-commerce stores.        Further, these e-commerce platforms

continue to be unable or unwilling to prevent the rampant and flagrant listing of counterfeit

products on their platforms. Thus, Converse is forced to file this action to discover the full scope

of the infringement and attempt to stop Defendants’ counterfeiting of the registered Converse

trademarks, as well as to protect unknowing consumers from purchasing Counterfeit Converse

Products on U.S.-facing e-commerce platforms. Converse has been and continues to be irreparably

damaged through consumer confusion, dilution, and tarnishment of its valuable trademarks as a

result of Defendants’ actions and seeks injunctive and monetary relief.

                              II. JURISDICTION AND VENUE

       2.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331.

       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores operating under the Seller Aliases. Specifically,

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores

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that target United States consumers using one or more Seller Aliases, offer shipping to the United

States, including Illinois, accept payment in U.S. dollars and have sold products using infringing

and counterfeit versions of Converse’s federally registered trademarks to residents of Illinois.

Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate commerce,

and has wrongfully caused Converse substantial injury in the State of Illinois.

                                       III. THE PARTIES

Plaintiff

       4.      Converse is organized and existing under the laws of the State of Delaware with an

office and principal place of business at 1 Lovejoy Wharf, Boston, Massachusetts 02114.

       5.      Converse is a wholly-owned subsidiary of Nike, Inc.

       6.      Founded in 1908, Converse is a lifestyle brand engaged in the design, distribution,

and sale of footwear, apparel, and accessories (collectively, the “Converse Products”). Converse

is a leading designer, marketer, and distributor of footwear and apparel, which are marked with

the famous Converse trademarks. For over 100 years, Converse has been making its famous Chuck

Taylor All Star and One Star sneakers.

       7.      The Chuck Taylor All Star shoe, one of the most popular and storied basketball

shoes of all time, was the world’s first performance basketball shoe, introduced in 1917. The shoe’s

namesake, Chuck Taylor, nicknamed “Mr. Basketball”, evangelized the sport of basketball for

nearly a half‐century, bringing the ideals of originality, creativity, and self-expression to the world

through his eyes. The original canvas and rubber classic Converse All Star, with the Chuck Taylor

name and endorsement added in 1934, is a global icon. More than 750 million pairs of Converse

shoes have been sold in 144 countries.




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            8.    The Converse brand is a multi-million-dollar brand, and Converse spends

   considerable resources marketing and protecting it. Converse branded products have become

   enormously popular and even iconic, driven by Converse’s arduous quality standards and

   innovative design. Among the purchasing public, genuine Converse Products are instantly

   recognizable as such. In the United States and around the world, the Converse brand has come to

   symbolize high quality, and Converse Products are among the most recognizable athletic apparel

   products in the world.

            9.     Many Converse trademarks are registered with the United States Patent and

   Trademark Office, and Converse Products typically include at least one of Converse’s registered

   trademarks. Converse uses its trademarks in connection with the marketing of Converse Products,

   including the following marks which are collectively referred to as the “Converse Trademarks.”

Registration
                             Trademark                               Goods and Services
 Number
                                                        For: Athletic shoes of rubber and fabric in
  369,971                    ALL STAR                   class 25

                                                        For: Clothing-namely, industrial boots, rubber
                                                        boots, tennis shoes, basketball shoes, boat
                                                        shoes, general purpose athletic sneakers,
  868,375                   CONVERSE
                                                        casual shoes, jackets, trousers, parkas, shirts,
                                                        raincoats in class 25

                                                        For: Footwear in class 25
 1,206,260                   SKIDGRIP
                                                        For: All Purpose Sports Bags in class 18
 1,275,191                   ALL STAR
                                                        For: Shirts in class 25
 1,276,236                   ALL STAR
                                                        For: Footwear in class 25
 1,493,265                     CONS
                                                        For: Clothing; namely, knit T-shirts, woven
                                                        shirts, knit and woven pants, sports caps and
 1,790,496                     CONS                     knit caps, and spandex exercise wear; namely,
                                                        T-shirts, sweat pants, shorts, and tank tops in
                                                        class 25
                                                  4
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                                                For: Clothing; namely, knit T-shirts, collar
                                                placket shirts, woven shirts, swimwear, knit
                                                and woven shorts, knit and woven pants, tank
1,868,363               CONVERSE                tops, fleece tops and bottoms, wind resistant
                                                suits and jackets, sports caps and knit caps in
                                                class 25

                                                For: Computer services, namely, providing an
                                                interactive database of information on
2,453,856            CONVERSE.COM               clothing, footwear, sporting equipment and
                                                activities, and sports personalities in class 42

                                                For: Bookbags in class 18
2,466,322               CONVERSE
                                                For: Footwear in class 25
2,683,548                WEAPON
                                                For: Footwear in class 25
2,807,854               ALL STAR
                                                For: Socks in class 25
2,810,717               CONVERSE
                                                For: Eyeglasses, sunglasses, all purpose sports
                                                goggles, optical frames and accessories
2,869,353               CONVERSE
                                                therefor in class 9

                                                For: Sports bags in class 18
2,872,822               CONVERSE
                                                For: Retail store services featuring footwear,
                                                clothing, sports bags and book bags in class
3,175,430               CONVERSE
                                                35

                                                For: Footwear in class 25
3,191,460              FIRST STAR
                                                For: Shoe laces in class 26
3,289,613               CONVERSE
                                                For: Footwear; clothing, namely, t-shirts, tank
                                                tops and sweat shirts, headgear, namely,
3,534,741            CHUCK TAYLOR
                                                sports caps and knit caps in class 25

                                                For: Footwear in class 25
3,847,775             STAR PLAYER
                                                For: Recording studio services; Recording
4,417,013            RUBBER TRACKS              studios in class 41

                                                For: Footwear in class 25
5,722,153               CHUCK 70

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                                                For: Boots and shoes made of or containing
                                                rubber in class 25

121,760



                                                For: Shoes made of rubber, leather, fabric,
                                                and combinations thereof in class 25

315,273



                                                For: Rubber-soled canvas shoes for the use of
                                                men, women, and children in class 25
583,097


                                                For: Canvas-Topped, Rubber-Soled Athletic
                                                Shoes in class 25
741,662



                                                For: Basketball shoes, general purpose
                                                athletic sneakers in class 25
924,169


                                                For: Footwear-namely, rubber-soled or
                                                plastic-soled canvas shoes in class 25
938,918



                                                For: Footwear in class 25



1,078,480




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                                                For: Footwear in class 25

1,138,468


                                                For: Footwear in class 25

1,138,469


                                                For: Footwear in class 25

1,146,876


                                                For: Shirts in class 25


1,215,935



                                                For: Socks in class 25


1,525,779



                                                For: Footwear in class 25



1,632,413




                                                For: Clothing; namely, footwear in class 25
1,654,951




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                                                For: All-purpose sports bags in class 18


1,738,330




                                                For: Footwear in class 25



1,789,476




                                                For: Clothing; namely, knit T-shirts, collar
                                                placket shirts, knit and woven shorts, woven
1,804,563                                       pants, tank tops, fleece tops and bottoms,
                                                wind resistant suits and jackets sports caps in
                                                class 25
                                                For: Footwear in class 25

1,868,414


                                                For: Clothing; namely, T-shirts, shorts, tank
                                                tops, sweatsuits, vests, pants, jackets, and
                                                outerwear; namely, lined jackets in class 25
1,877,671




                                                For: Clothing; namely, T-shirts, shorts, tank
                                                tops, sweatsuits, vests, pants, jackets,
                                                sweaters, jeans and outerwear; namely, lined
1,981,319                                       jackets, and nylon jackets in class 25




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                                                For: Headwear, namely, sport and knit hats
                                                and caps in class 25

2,063,154




                                                For: Athletic footwear, and clothing, namely,
                                                T-shirts, shorts, hats, jackets, tank tops,
                                                sweatpants and sweatshirts in class 25
2,098,296




                                                For: T-shirts in class 25



2,435,788




                                                For: Clothing namely, t-shirts in class 25


2,435,789



                                                For: Book bags in class 18


2,466,301




                                                For: Apparel, namely, warm-up suits, shirts,
                                                pants, jackets and shorts in class 25

2,856,926




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                                               For: Footwear in class 25



2,973,804




                                               For: Footwear; clothing, namely, t-shirts,
                                               short and long sleeved tops, short and long
                                               sleeved t-shirts, exercise wear, namely, sweat
3,481,708                                      suits, and headgear, namely, sports caps in
                                               class 25

                                               For: Canvas and imitation leather topped soft
                                               soled athletic shoes and casual shoes in class
                                               25
1,053,338



                                               For: Athletic footwear in class 25



1,490,262




                                               For: Athletic footwear in class 25



1,588,960




                                               For: Footwear in class 25


1,658,256




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                                               For: Footwear in class 25



1,998,884




                                               For: Footwear in class 25



3,258,103




                                               For: Athletic footwear in class 25




4,062,112




                                               For: Athletic footwear in class 25



4,065,482




                                               For: Footwear in class 25


4,398,753




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          10.   The above U.S. registrations for the Converse Trademarks are valid, subsisting, in

full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations

for the Converse Trademarks constitute prima facie evidence of their validity and of Converse’s

exclusive right to use the Converse Trademarks pursuant to 15 U.S.C. § 1057 (b). True and correct

copies of the United States Registration Certificates for the above-listed Converse Trademarks are

attached hereto as Exhibit 1.

          11.   Converse has built substantial goodwill in the Converse Trademarks. As a result,

the Converse Trademarks are famous marks as that term is used in 15 U.S.C. § 1125(c)(1) and

have been continuously used and never abandoned. The innovative marketing and product design

of the Converse Products have enabled the Converse brand to achieve widespread recognition and

fame and have made the Converse Trademarks some of the most well-known marks in the athletic

apparel and footwear industry. The widespread fame, outstanding reputation, and significant

goodwill associated with the Converse brand have made the Converse Trademarks invaluable

assets.

          12.   Converse has continuously used the Converse Trademarks in interstate commerce

in connection with the sale, distribution, promotion, and advertising of genuine Converse Products

since their respective dates of first use as noted on the federal trademark registration certificates.

          13.   Among the purchasing public, genuine Converse Products are instantly

recognizable as such. The Converse Trademarks identify, in the United States and throughout the

world, high quality products designed and manufactured by Converse.

          14.   Genuine Converse Products are distributed and sold to consumers through retailers

throughout the United States, including through authorized retailers in Illinois and the

converse.com website.
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         15.     Sales of Converse Products via the converse.com website are significant. The

converse.com website features proprietary content, images and designs exclusive to the Converse

brand.

         16.     Due to Converse’s longstanding use of the Converse Trademarks, extensive sales,

and significant advertising and promotional activities, the Converse Trademarks have achieved

widespread acceptance and recognition among the consuming public and trade throughout the

United States.

         17.     The Converse Trademarks are exclusive to Converse and appear clearly on

Converse Products, as well as on the packaging and advertisements related to such products.

Converse has expended substantial resources in developing, advertising, and otherwise promoting

and protecting the Converse Trademarks. As a result, products bearing the Converse Trademarks

are widely recognized and exclusively associated by consumers, the public, and the trade as being

high-quality products sourced from Converse. Converse Products have become some of the most

popular of their kind in the world and have also been the subject of extensive unsolicited publicity

resulting from their high quality and innovative designs. Because of these and other factors, the

Converse name and the Converse Trademarks are famous throughout the United States.

         18.     Converse Products branded under the Converse Trademarks have been widely

accepted by the public and are enormously popular. The widespread fame, outstanding reputation,

and significant goodwill associated with the Converse brand have made the Converse Trademarks

invaluable assets.

The Defendants

         19.     On information and belief, Defendants are individuals and business entities of

unknown makeup who, either individually or jointly, own and/or operate one or more of the e-

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commerce stores under at least the Seller Aliases identified on Schedule A and/or other seller

aliases not yet known to Converse, but which may become the subject of this action through

amendment of this Complaint.

       20.      Tactics used by Defendants to conceal their identities and the full scope of their

operation make it virtually impossible for Converse to learn Defendants’ true identities and the

exact interworking of their counterfeit network at this time. If Defendants provide additional

credible information regarding their identities, Converse will take appropriate steps to amend this

Complaint.

       21.     On information and belief, Defendants reside and/or operate in the People’s

Republic of China or other foreign jurisdictions with weak trademark enforcement systems, or

redistribute products from the same or similar sources in those locations. Defendants have the

capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

                       IV. DEFENDANTS’ UNLAWFUL CONDUCT

       22.     The success of the Converse brand has resulted in significant counterfeiting of

Converse’s trademarks. In recent years, Converse has identified many fully interactive, e-

commerce stores offering counterfeit Converse Products on online marketplace platforms such as

Amazon, eBay, AliExpress, Alibaba, Wish.com, and DHgate, including the e-commerce stores

operating under the Seller Aliases. The e-commerce stores operating under the Seller Aliases are

offering for sale and/or selling Counterfeit Converse Products to consumers in this Judicial District

and throughout the United States. E-commerce sales, including through e-commerce stores like

those of Defendants, have resulted in a sharp increase in the shipment of unauthorized products

into the United States. Exhibit 2, Excerpts from Fiscal Year 2018 U.S. Customs and Border

Protection (“CBP”) Intellectual Property Seizure Statistics Report.        Over 90% of all CBP


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intellectual property seizures were smaller international mail and express shipments, and over 85%

of CBP seizures originated from mainland China and Hong Kong. Id. Counterfeit and pirated

products account for billions in economic losses, resulting in tens of thousands of lost jobs for

legitimate businesses and broader economic losses, including lost tax revenue.

       23.     Online marketplace platforms like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (January 24, 2020) attached as Exhibit 4 and finding that on “at

least some e-commerce platforms, little identifying information is necessary for a counterfeiter to

begin selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary. Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-fronts.

Exhibit 4 at p. 22. Since platforms generally do not require a seller on a third-party marketplace

to identify the underlying business entity, counterfeiters can have many different profiles that can

appear unrelated even though they are commonly owned and operated. Exhibit 4 at p. 39. Further,

“E-commerce platforms create bureaucratic or technical hurdles in helping brand owners to locate

or identify sources of counterfeits and counterfeiters.” Exhibit 3 at 186-187.

       24.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target U.S. consumers using one or more Seller Aliases, offer shipping to the




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U.S., including Illinois, accept payment in U.S. dollars and have sold Counterfeit Converse

Products to residents of Illinois.

        25.     Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under Seller Aliases

appear sophisticated and accept payment in U.S. dollars via credit cards, Alipay, Amazon Pay,

and/or PayPal. E-commerce stores operating under the Seller Aliases often include content and

images that make it very difficult for consumers to distinguish such stores from an authorized

retailer.   Converse has not licensed or authorized Defendants to use any of the Converse

Trademarks, and none of the Defendants are authorized retailers of genuine Converse Products.

        26.     Many Defendants also deceive unknowing consumers by using the Converse

Trademarks without authorization within the content, text, and/or meta tags of their online

marketplace listings to drive traffic away from Converse authorized channels, and instead to their

own infringing sites. Other e-commerce stores operating under Seller Aliases omit using Converse

Trademarks in the item title to evade enforcement efforts while using strategic item titles and

descriptions that will trigger their listings when consumers are searching for Converse Products.

        27.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to online marketplace platforms to prevent discovery of their true identities and the

scope of their counterfeiting operations.

        28.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Counterfeit Converse Products. Such seller

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alias registration patterns are one of many common tactics used by e-commerce store operators

like Defendants to conceal their identities and the full scope and interworking of their

counterfeiting operations, and to avoid being shut down.

       29.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Counterfeit Converse Products for sale by the Seller

Aliases bear similar irregularities and indicia of being counterfeit to one another, suggesting that

many of the Counterfeit Converse Products may be manufactured by and come from a common

source and that many of Defendants are interrelated.

       30.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.

       31.     Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of Converse’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court in

an attempt to avoid payment of any monetary judgment awarded by the Court. Indeed, analysis

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of financial account transaction logs from previous similar cases indicates that off-shore

counterfeiters regularly move funds from U.S.-based financial accounts to off-shore accounts

outside the jurisdiction of this Court.

       32.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Counterfeit Converse Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Converse, have jointly and severally, knowingly and willfully used and continue to

use the Converse Trademarks in connection with the advertisement, distribution, offering for sale,

and sale of Counterfeit Converse Products into the United States and Illinois over the Internet.

       33.     Defendants’ unauthorized use of the Converse Trademarks in connection with the

advertising, distribution, offering for sale, and sale of Counterfeit Converse Products, including

the sale of Counterfeit Converse Products into the United States, including Illinois, is likely to

cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Converse.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       34.     Converse hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       35.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Converse

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The Converse Trademarks are highly distinctive marks. Consumers have come

to expect the highest quality from Converse Products offered, sold or marketed under the Converse

Trademarks.
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       36.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the Converse Trademarks without Converse’s permission.

       37.     Converse is the owner of the Converse Trademarks. Converse’s United States

Registrations for the Converse Trademarks (Exhibit 1) are in full force and effect. On information

and belief, Defendants have knowledge of Converse’s rights in the Converse Trademarks and are

willfully infringing and intentionally using counterfeits of the Converse Trademarks. Defendants’

willful, intentional and unauthorized use of the Converse Trademarks is likely to cause and is

causing confusion, mistake, and deception as to the origin and quality of the Counterfeit Converse

Products among the general public.

       38.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       39.     Converse has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Converse will continue to suffer irreparable harm to its reputation and the goodwill of

the Converse Trademarks.

       40.     The injuries and damages sustained by Converse have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Converse Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       41.     Converse hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       42.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Converse Products has created and is creating a likelihood of confusion, mistake, and deception
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among the general public as to the affiliation, connection, or association with Converse or the

origin, sponsorship, or approval by Converse of Defendants’ Counterfeit Converse Products.

       43.      By using the Converse Trademarks in connection with the sale of Counterfeit

Converse Products, Defendants create a false designation of origin and a misleading representation

of fact as to the origin and sponsorship of the Counterfeit Converse Products.

       44.      Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit Converse Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       45.      Converse has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Converse will continue to suffer irreparable harm to its reputation and the associated

goodwill of the Converse Trademarks.

                                     PRAYER FOR RELIEF

WHEREFORE, Converse prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under, or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the Converse Trademarks or any reproductions, counterfeit copies, or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine Converse

             Product or is not authorized by Converse to be sold in connection with the Converse

             Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Converse Product or any other product produced by Converse that is not Converse’s or

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           not produced under the authorization, control, or supervision of Converse and approved

           by Converse for sale under the Converse Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Converse Products are those sold under the authorization, control, or

           supervision of Converse, or are sponsored by, approved by, or otherwise connected

           with Converse;

       d. further infringing the Converse Trademarks and damaging Converse’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Converse, nor authorized by Converse to be sold

           or offered for sale, and which bear any of Converse’s trademarks, including the

           Converse Trademarks, or any reproductions, counterfeit copies, or colorable imitations

           thereof;

2) Entry of an Order that, upon Converse’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com, and DHgate (collectively, the “Third Party Providers”) shall disable and

   cease displaying any advertisements used by or associated with Defendants in connection with

   the sale of counterfeit and infringing goods using the Converse Trademarks;

3) That Defendants account for and pay to Converse all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the Converse Trademarks be increased by a sum not exceeding three times the amount

   thereof as provided by 15 U.S.C. § 1117;




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4) In the alternative, that Converse be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   Converse Trademarks;

5) That Converse be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.

Dated this 26th day of October 2021.         Respectfully submitted,


                                             /s/ Justin R. Gaudio
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